   

Case 2:17-cr-20574-VAR-MKM ECF No.1 filed 08/29/17 PagelD.l1 Pagel Ss

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,
Case:2.17-cr-20574
oo. Judge: Roberts, Victoria A.
Plaintiff, MJ: Majzoub, Mona K.
Filed: 68-29-2017 At 03:19 PM
IND! USA V JOSE GREGORIO TORRES (LG

 

Vv. )
JOSE GREGORIO TORRES, VIO: 18 U.S.C. § 2251{a)
18 U.S.C. § 2422(b)
Defendant.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

18 U.S.C. §§ 225 1(a); (e)
Production of Child Pornography

On or about and between August 1, 2015, through on or about April 30, 2016,
both dates being approximate and inclusive, in the Eastern District of Michigan and
elsewhere, the defendant, JOSE GREGORIO TORRES, did knowingly attempt to
and did employ, use, persuade, induce, entice and coerce any minor, specifically

MV-1, a female child born in 2001, to engage in sexually explicit conduct for the

Page 1 of 4
  
 
  

Case 2:17-cr-20574-VAR-MKM ECF No.1 filed 08/29/17 PagelD.2 Page 2of5

purpose of producing any visual depiction of such conduct, knowing and having
reason to know that such visual depiction would be transported using any means and
facility of interstate and foreign commerce, using materials that have been mailed,
shipped, and transported in and affecting interstate and foreign commerce by any
means; and the visual depiction was transported using any means and facility of
interstate and foreign commerce, in violation of Title 18, United States Code,

Sections 225 1(a); (e).

COUNT TWO

18 U.S.C. § 2422(b)

Coercion and Enticement of a Minor

On or about and between August 1, 2015, through on or about April 30, 2016,
both dates being approximate and inclusive, within the Eastern District of Michigan
and elsewhere, the defendant, JOSE GREGARIO TORRES, did knowingly and
unlawfuily attempt to and did use any facility and means of interstate and foreign
commerce to persuade, induce, entice, and coerce any individual who had not
attained the age of 18 years, specifically MV-1, a female child born in 2001, to
engage in any sexual activity for which any person can be charged with a criminal
offense, including production of child pornography, in violation of Title 18, United

States Code, Section 2422(b).

Page 2 of 4
   

Case 2:17-cr-20574-VAR-MKM ECF No.1 filed 08/29/17 PagelD.3 Page 3of5

FORFEITURE ALLEGATIONS

18 U.S.C. § 2253

Criminal Forfeiture
Upon conviction of one or more of the offenses charged in Counts One
through Twelve of the Indictment, defendant shall, pursuant to Title 18, United
States Code, Section 2253, forfeit to the United States the following:

a) Any visual depiction described in Title 18, United States Code, Sections 2251,
2251A, or 2252, 2252A, 2252B, or 2260, or any book, magazine, periodical,
film, videotape, or other matter which contains any such visual depiction,
which was produced, transported, mailed, shipped, or received in violation of
these subsections;

b) Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from such offense; and

c) Any property, real or personal, used or intended to be used to commit or to
promote the commission of such offense or any property traceable to such

property.
If any of the property subject to forfeiture pursuant to Title 18, United States
Code, Section 2253, as a result of any act or omission of the defendant--

a) cannot be located upon the exercise of due diligence;

b) has been transferred to, sold to, or deposited with a third party;

c) has been placed beyond the jurisdiction of this Court;

d) has been substantially diminished in value; or

e) has been commingled with other property which cannot be divided without
difficulty:

Page 3 of 4
  
 
  

Case 2:17-cr-20574-VAR-MKM ECF No.1 filed 08/29/17 PagelD.4 Page4of5

the United States of America, intends to seek forfeiture of all other property of the

defendant up to the value of forfeiture applicable in this case.

DANIEL L. LEMISCH,

ACTING UNITED STATES ATTORNEY

s/ Matthew A. Roth

MATTHEW A. ROTH

Chief, General Crimes Unit
Assistant United States Attorney
211 West Fort Street, Suite 2001
Detroit, MI 48226-3220

Phone: 313-226-9186

E-Mail: matthew.roth2@usdoj.gov

Dated: August 29, 2017

THIS IS A TRUE BILL.

s/ Grand Jury Foreperson
Grand Jury Foreperson

 

s/ Margaret M. Smith
MARGARET M. SMITH
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Assistant United States Attorney
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Page 4 of 4
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United States District Court
Eastern District of Michigan

Criminal Case Cove

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to comple

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Companion Case Information

Companion Case Number:

 

This may be a companion case based upon LCrR 57.10 (b)(4)":

Judge Assigned:

 

 

LJ Yes No

AUSA’s Initials: i
QYN

 

 

Case Title: USAv. Jose Gregorio Torres

County where offense occurred : Wayne

Check One: [X] Felony L]Misdemeanor L]Petty
Indictment Information --- no prior complaint.
¥_Indictment/ Information --- based upon prior complaint [Case number: 17-mj-30249 ]
Indictment/ Information --- based upon LCrR 57.10 (d} {Complete Superseding section below].

Superseding Case Information

Superseding to Case No:

 

[_]Corrects errors; no additional charges or defendants.

Judge:

 

[_]Involves, for plea purposes, different charges or adds counts.
[ ]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name

Charges

Prior Complaint {if applicable)

 

Please take notice that the below listed Assi&tant United State

the above captioned case.

August 29, 2017

rney is the attorney of record for
}

a

 

Date
Assistant

211 W. Fo

de “

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Phone: 313-226-9135

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313-226-2327

E-Mail address: Nargaret.smith@usdoj.gov
Attorney Bar #:; P/71413

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.

C/te
